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[jiffyordnh] [Bench Order No Hearing +]



                                              ORDERED.
   Dated: August 02, 2023




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                     Case No. 6:18−bk−06821−LVV
                                                                           Chapter 7

Don Karl Juravin
aka Don Adi Juravin




________Debtor*________/


 ORDER DENYING MOTION FOR RECONSIDERATION OF ORDER IMPOSING SANCTIONS ON
                                 DEBTOR

            THIS CASE came on for consideration without a hearing of the Motion for Reconsideration
         of Order Imposing Sanctions on Debtor (Doc. 881 ), filed by Debtor Don Juravin .

            The Court having considered the record, the Motion for Reconsideration of Order Imposing
         Sanctions on Debtor is Denied .



            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

            Service Instructions:

            The Clerk's office is directed to serve a copy of this order on interested non−CM/ECF users.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
         two individuals.
